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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                 Chapter 11
         MFB PROPERTIES LLC,
                                                                 Case No. 17-36876 (cgm)
                                    Debtor.
EIN XX-XXXXXXX
--------------------------------------------------------x


                    ORDER DENYING RECONSIDERATION & VACATUR

         The motion (the “Motion”) of BHMPW Funding LLC (“BHMPW”) for the entry of an
order reconsidering or vacating this Court’s order authorizing the sale by debtor MFB Properties
LLC (the “Debtor”) of improved real property located at 7 Lucy Lane, Town of Monroe, County
of Orange, State of New York having come on for a hearing before this Court on February 13,
2018 (the “Hearing”), the Debtor having filed opposition to the Motion and the Court having taken
judicial notice of the transcripts of the case conferences held in this case, and of the transcript of
the January 30, 2018 hearing held on the Debtor’s sale motion, now, upon the Motion, the
opposition, the aforementioned hearing transcripts, all of the papers on file in this case and the
record of the Hearing, after due deliberation and for the reasons stated on the record of the Hearing
it is hereby,

         ORDERED, that the Motion is denied.




                                                                  /s/ Cecelia G. Morris
                                                                  _______________________
Dated: February 20, 2018
                                                                  Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                                  Chief U.S. Bankruptcy Judge
